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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF IOurA
UNITED STATES OF ANIERICA,
                                                      Civil No.4:20‐   cv‐   00232
                Plainti氏

                                                      VERIFIED COWIIPLAINT FOR
                                                      FORFEITURE IArRE″
APPROXIⅣLTELY$3,769.00
1N U.S.CURRENCY,
                Defendant.


         Plaintiff, United States of America hereby fiIes and serves this Vpnm'mo

CouplarNT IN REM and alleges as follows:

                             I.      NATURE OF THE ACTION

         1.     This is an action to forfeit and condemn specific property to the use and

benefit of the United States of America ("Plaintiff') due to its involvement in

violations of   2l U.S.C. S 846 (attempt         and conspiracy) and     $   841(a)(1) (prohibited

acts).

         2.     The United States believes the Defendant property is subject to

forfeiture pursuant to 2L U.S.C.      S   881(a)(6), as money or a thing of value furnished

or intended to be furnished by a person in exchange for a controlled substance, in

violation of subchapter I    -    Control and Enforcement, of Chapter 13 - Drug Abuse

Prevention and Control, and Title 21         -   Food and Drugs, of the United States Code,

and proceeds traceable to such an exchange, and money used or intended to be used

to facilitate any violation of said subchapter.
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                               II.    DEFENDANT         ,TN R,Ell,I


      3.      The Defendant property is generally described as approximately

93,769.00 in U.S. Currency seized on or about August 9, 2019 in Des Moines, Iowa.

      4.      The Defendant property is in the custody of the Des Moines Police

Department.

      III.    JURISDICTION. VENUE. AND PROCEDURAL AUTHORITY

      5.      This Court has jurisdiction over an action commenced by the United

States as Plaintiff, pursuant to 28 U.S.C. S 1345.

      6.      This Court has original jurisdiction over this action for the recovery or

enforcement of a fine, penalty, or forfeiture incurred under an Act of Congress,

pursuant to 28 U.S.C. S 1355(a).

      7.       This Court also has jurisdiction over this action because acts          or

omissions giving rise to this civil forfeiture occurred in the Southern District of lowa,

therefore,   this action may be brought in this District, pursuant to 28          U.S.C.

s 1355(b)(1)(A).

       8.     Venue is proper in this District because this is a civil proceeding for the

recovery of a pecuniary fine, penalty, or forfeiture, and is being prosecuted in the

District where the action accrues and where the Defendant property is found,           as


authorized by 28 U.S.C. S 1395(a) and @).

       g.     Venue   is also generally proper in this District under 28 U.S.C.
S 1391&)(2) because   it is where "a substantial part   of the events or omissions giving




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rise to the claim occurred, or a substantial part ofthe property that is the subject of

the action is situated."

         10.      The general rules for civil forfeiture proceedings are set forth            in   18

u.s.c.   s e83.

                                           IV.   FACTS

         11.      The "Controlled Substances Act" was enacted by Congress as Title             II of
the "Comprehensive Drug Abuse Prevention and Control Act of L970," Pub.L. No.

91-513, 84 Stat. 1236 (1970) (codified at2L U.S.C.       SS   801-904).

         L2.      The term "controlled substance" is defined in 21 U.S.C.        S   802(6) to mean

a drug or other substance, or immediate precursor, included in any of the five
schedules of such substances set forth in subchapter          I of Title   21.

         13.      Schedule   I   substances have a high potential for abuse, and have no

currently accepted medical use in treatment in the United States, and there is a lack

of accepted safety for use of these drugs under medical supervision. 2L                     U.S.C.

s 812o)(1)(A)      - (c).
         14.      Marijuana, or Cannabis, is a psychoactive drug from the Cannabis

plant. The main psychoactive component of cannabis is tetrahydrocannabinol (THC),

which is one of the 483 known compounds in the p1ant, including at least 65 other

cannabinoids. Cannabis can be used by smoking, vaporizing, within food, or as an

extract. Cannabis has mental and physical effects. It causes a "high," or stoned
feeling and other effects, including a general change             in thought and perception,

difficulty concentrating, impaired short-term memory, altered sense of time,


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impaired body movement, relaxation, and an increase in appetite, Marijuana is              a

Schedule   I controlled substance.

      15.     Schedule   II   substances have a high potential for abuse, but the drugs or

substances have a currently accepted medical use in treatment in the United States

or a currently accepted medical use with severe restrictions. Abuse of Schedule            II
controlled substances may lead to severe psychological or physical dependence. 27

u.s.c. s 812@)(2xA) - (c).
      16.     Cocaine is a powerfully addictive stimulant drug made from the leaves

of the coca plant native to South America. Cocaine acts by inhibiting the reuptake of

serotonin, norepinephrine, and dopamine, which causes greater concentrations of

these three neurotransmitters in the       brain.   Cocaine is addictive due to its effect on

the reward pathway in the brain.          It is commonly snorted, inhaled      as smoke, or

dissolved and injected into a      vein. After a short period of use, there is a high risk

that dependence wiII occur. The mental effects of cocaine may include loss of contact

with reality, an intense feeling of happiness, or agitation. The physical symptoms

may include a fast heart rate, sweating, and large pupils. Cocaine use increases the

risk of stroke, myocardial infarction, lung problems in those who smoke it, blood
infections, and sudden cardiac death. The use of high doses can result in very high

blood pressure or body temperature. Effects begin within seconds to minutes of use

and last between five and ninety minutes. Cocaine has a small number of accepted

medical uses, such as numbing and decreasing bleeding during nasal surgery.

Cocaine is a Schedule    II controlled   substance.



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       L7.    Under the Controlled Substances Act,             it is unlawful to distribute,
dispense, or possess with intent to distribute a controlled substance unless authorized

by law to do so. 21 U.S.C.   S   8a1(aX1).

       18.    Under the Controlled Substances Act,        it   is unlawful to conspire with

others to violate its prohibitions. 21 U.S.C.    S 846.

       19.    The Defendant property is money furnished, or intended to be furnished,

in exchange for a controlled substance, proceeds traceable to such an exchange, and/or

money used or intended to be used to facilitate a violation of Subchapter         I, Part   D,

Title 2L, United States Code, namely, the drug dealing prosecuted in Uruited States         u.


Aaron Ramon Jefferson, 4:18-CR-196 (S.D. Iowa).

       20. In     approximately 2008, Aaron Ramon Jefferson (Jefferson) was

convicted   in the Iowa District Court for Polk County of possession of a controlled
substance, namely, marijuana and served time in prison for this conviction.

      2L. In approximately 2008, Jefferson was convicted in the Iowa District
Court for Polk County of identity theft, and served time in prison for this conviction.

      22. In approximately 2009, Jefferson was convicted in the Iowa District
Court for Polk County of possession of marijuana with the intent to deliver, and

served time   in prison for this conviction. He was caught with over 100 grams of

marijuana and a handheld drug scale.




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        23. In approximately 2OlO, Jefferson was convicted in the Iowa District
Court for Polk County of Theft (third degree), and served time in prison for this

conviction.

        24. In approximately        2018, Jefferson was convicted          in the Iowa District
Court for Polk Count of assault, for striking a minor female.

        25.    Jefferson started using marijuana         at age 13, and by age 18 used
marijuana daily.

        26.    Jefferson started using cocaine in his early 30s, and eventually started

using   it daily, and illega1ly selling it to other people for a profit.
        27.    Jefferson was unemployed             in 2Ol7 and only worked seasonal
employment briefly in 2018, until he was fired. By August2OlS, he was unemployed.

However, he was illegally working as a drug dealer, specifically dealing cocaine.

        28. On August 9, 2018, the Des Moines Police                   Department @MPD)

responded to a call for service from EM at 3630 Twana, Apt. 8, Des Moines, Iowa.

        29.    EM claimed when she and Jefferson, her next-door neighbor, were out

on their porches, he pointed a rifle with a flashlight attached to the barrel at her.

        30.    EM explained that she and Jefferson had an ongoing dispute regarding

Jefferson's dog harassing her dog.

        31. A DMPD offi.cer knocked on Jefferson's door, to investigate what had
happened.




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           32.   Jefferson answered the door, and spoke to the officer through the

cracked door.

       33.       Jefferson confirmed he had argued with EM, and admitted he had been

on the porch with a rifle, claiming he was showing      it to his friend. He denied pointing

it at EM.
           34.   Thereafter, an officer asked Jefferson for his identification.

       35.       Jefferson closed the door and went into the apartment supposedly to find

it.

       36.       Due to safety concerns based on the allegation of a fi.rearm, the officer

opened the door to see what was transpiring, but did not enter the residence.

           37.   Jefferson's wife, CC, closed the door, but the officer again opened   it as a
precaution.

           38.   Jefferson returned    to the porch, and said he could not find his
identification. He added he wanted to go to his car to look for it.

           39.   The offi.cer then asked Jefferson to simply tell him his name.

           40.   Jefferson refused and attempted to go to his car.

           4L.   Jefferson was handcuffed at this time and taken to a patrol car.

           42.   CC and a friend, RW, remained inside the apartment with another

officer.

           43.   During this encounter, officers smelled the pungent odor of marijuana

wafting out of the apartment.




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      44.       While Jefferson was handcuffed in the police car, two other officers

arrived.

       45. In      response     to questions regarding the marijuana smell, Jefferson
admitted to possessing user quantities of marijuana.

       46- It is illegal to possess marijuana under state and federal law, subject to
Iimited exceptions not here applicable.

      47.       An officer explained to Jefferson that, based on the smell of marijuana

and other circumstances, law enforcement would get a "user warrant" authorizing

seizure of personal use quantities of marijuana.

       48.      The officer explicitly told Jefferson that,   if other contraband was found

during the execution of a "user warrant" the police "would not look the other way."

       49.      The officer also advised Jefferson he could sign a consent to a search,

which would be less of a hassle.

       50.      Jefferson ended up signing a consent          to search form, in which   he

knowingly agreed to allow the police to search his residence.

       51.      Jefferson was explicitly instructed that he was going to accompany

officers during the search and that he could revoke consent at any time.

       52.      Jefferson escorted offi.cers into the apartment, went to his bedroom and

got a plastic container with over 40 grams of marijuana inside it.

       53.      In the living room, officers found:

           .     a rifle box   and manual in plain view; and

            .    a load.ed Taurus, Model PT111 (G2 Millennium), 9mm pistol (s/N:
                 TKS29119), with one round in the chamber.
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            54. In Jefferson's bedroom, officers located:
                  . an unloaded Romarm/Cugir, 7.62 x 39 millimeter,      semi-automatic
                      Draco rifle (S/N: DB72L118RO) with a missing cover over the spring
                      assembly;

                  o   two magazines (one empty and one containing 30 rounds);

                  .   digital drug scales;

                  .   a plastic container containing 94.56 grams of cocaine;

                  o   assorted pills, including ecstasy and alprazolam;

                  o   plastic baggies;

                  .   an unloaded DPMS @anther Arms), A-15 rifle (S/N: FFH197860);

                  .   a black body armor vest   with two black masks; and

                  .   a safe.

            55.       The Defendant property, $3,769.00 in U.S. Currency, was recovered

from a search of Jefferson, who was then unemployed.

            56.       This $3,769.00 was the proceeds of Jefferson's drug dealing.

            57.       An officer with the narcotics unit responded after the discovery of the

large quantity of cocaine. He conducted recorded, post-Miranda tntewiews of all

three occupants, who knowingly and voluntarily agreed to be interviewed.

            58.       Jefferson explained he and his wife and daughter had just moved into

the apartment about a week ago. They are the only ones with keys to the apartment.

            59.       Jefferson claimed an unidentified friend had come to the apartment with

a   rifle   so   Jefferson could put an attachment on   it. Jefferson stated that he was outside

with the rifle and a neighbor who does not like him called the police.
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       60.        Jefferson claimed he only had an ounce of marijuana and that it was for

his personal use.

       61.        Jefferson said he buys a % pound of marijuana at a time every couple of

weeks, but did not want to tell law enforcement how much he paid for his marijuana.

       62.        Jefferson said he had been unemployed for less than   a   year and was then

trying to get disability for narcolepsy. CC, his wife, worked at Methodist Hospital in

Des Moines.

       63.        Jefferson said he smokes    a   Yq   owce of marijuana a day due to his

narcolepsy.

       64.        Jefferson admitted using ecstasy and cocaine for personal use.

       65.        Jefferson said he only buys an ounce of cocaine at a time and pays $1,000

dollars for it.

       66.        Jefferson stated that he does not sell any marijuana but he has shared

it, if a friend comes over.

       67.        Jefferson stated that he buys drugs in bulk and just sits on it.

       68.        Jefferson stated the marijuana, ecstasy, and cocaine were also his.

       69.        Jefferson stated that sometimes he can do an eight baII of cocaine in a

day (3.5 grams). Jefferson stated that his fingerprints and DNA wouldn't be on the

drugs because he uses gloves when he touches them so the drugs do not soak through

his pores. Jefferson does this so he does not get too high.

       70.        Jefferson stated the guns recovered in the residence belonged to his wife

and a friend.



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      71.       Jefferson stated the cash recovered on him was for a down payment on

a house and     that he does not trust banks   so he was   holding onto it. He then changed

his story and said he was going to deposit it tomorrow in his account.

      72.       Jefferson stated that the extra baggies are       in case he is going to go
somewhere so he does not have to take all his drugs with him.

      73.       CC claimed the money that was recovered from Jefferson was from

selling personal items when they moved.

      74.       CC stated that she had no knowledge about the amount of narcotics

recovered   in the apartment and that she had seen a scale, but it was there               so

Jefferson did not get ripped offby other people.

      75.       On September 18, 2018, law enforcement executed a federal search

warrant on the locked safe that was seized from Jefferson's residence during the

consent search that occurred on August 9,20L8-

      76.       In the safe, officers recovered the following:

            . A Sturm, Ruger & Co., LCP II,           .380 caliber pistol, serial number
                 380238540;

            . A Smith & Wesson, M&P Bodyguard               380, .380 caliber pistol, serial
                 number I{882469;

            o    92,400.00;

            .    Ammunition; and

            .    Jefferson's Social Security Card,    birth certificate, and a marriage
                 certificate for Jefferson and CC.

      77.        On November 5, 2078, U.S. Probation Officers conducted a home check

of Jefferson's residence at 5701 Washington Avenue.
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      78.    When the probation officers arrived, Jefferson's 1S-year-old daughter

was in the driveway.

      79.    Upon seeing the probation officers, she immediately went into the house

and shut the door.

      80.    When the probation offi.cers got to the front door, which was a glass

security door, a probation officer saw a white male crouching on the floor in front of

the couch.

      81. The same probation officer also saw Jefflerson making                furtive

movements behind the couch.

       82.   In front of the couch, where the white male had been crouched, the same

probation officer saw a razor blade on the floor, as well as a small tube, metal tool,

and white powder residue, namely, cocaine residue.

      83.    The same probation officer asked Jefferson if he could look behind the

couch and Jefferson agreed.

       84.   Behind the couch, the same probation officer located. a plastic baggie

with a white powdery substance, namely, cocaine.

      85.    The probation officers requested assistance from the DMPD.

       86.   A patrol officer responded first and then a Narcotics Unit Investigator

arrived.

       87.   The DMPD officers weighted the white powdery substance in the baggie

that was located behind the couch (75 grams) and it tested field-tested positive for

cocaine.



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         88. After Jefferson denied consent to further search the residence, the
DMPD obtained a valid state search warrant.

         89.    During the search, officers located the following items in    the living
rooln:

            .   A silver Apple iPhone;

            o   An estimated one gram (1g) of loose marijuana and a black marijuana
                "grinder";

            o   An "operational" working digital scale, which tested positive for the
                presence ofcocaine;

            o A rifle    optic and a WD40 "hide can" that tested positive for the
                presence ofcocaine;

            .   Miscellaneous drug paraphernalia items;

            .   Glass mirror with cocaine residue (positive field test), small tube,
                razor blade and small metal tool;

            .   A plastic container with an estimated three grams (3g) of marijuana;

            o   A box of sandwich baggies;

            o   Heat seal packaging with cocaine residue; and

            o   A glass jar containing a trace amount of marijuana.

         90.    During the search, officers located the following items in the southwest

bedroom:

            .   A Ruger 9mm pistol magazine with fourteen (14) round capacity;

            .   Another safe in the closet;

            o    $8,500.00 in U.S. currency; and




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           .   Three (3) "functioning" digital scales with a white residue, a baggie of
               rubber marijuana wax containers, a baggie of miniatureZiplocbaggies
               and a box of sandwich baggies.

      91.      During the search, officers located the following items in the basement:

           o   A green "PMAG 30" rifle magazine; and

           o   A miniature Ziploc baggie containing a trace amount of white powder.

       92.     During the search, officers located the following items on Jefferson and

CC: $200.00 in U.S. currency, and $556.00 in U.S. currency he handed to her.

      93.      Firearms and ammunition, scales, plastic baggies, drug paraphernalia,

and cash are all tools of   illicit drug dealing and indicia of drug trafficking.

       94.     On September 25, 2018 and November 27, 2018, Jefferson was charged

in the U.S. District Court for the Southern District of Iowa with possession with the

intent to deliver cocaine, illegally possessing a firearm, and illegally possessing        a

firearm in furtherance of a drug traffi.cking crime.

      95. On February 21, 2019, Jefferson, with the advice and consent of
competent counsel, entered into a PIea Agreement with the federal government.

      96.      In Jefferson's Plea Agreement, he agreed to possessing cocaine with the

intent to distribute it on August 9, 2018 and November 5, 2018. He also admitted he

possessed one or more firearms in furtherance of his drug trafficking.

       97. In his PIea Agreement, Jefferson consented to forfeit unspecified U.S.
currency identified   in the Superseding Indictment as drug money, and              agreed to

waive all challenges to any forfeiture carried out pursuant to the Plea Agreement.

More specifically, Jefferson agreed to "waive aII interest       in asset[s] subject to this


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Plea Agreement    in any administrative or judicial forfeiture proceeding, whether
criminal or civil, state or federal." The government proceeded to criminally forfeit

the $2,400.00 seized from Jefferson's safe and the $9,256.00 seized from his residence.

      98.     Jefferson acknowledged the seizure of the Defendant property, namely,

$3,769.00 in U.S. Currency, in his Sentencing Memorandum filed June 20,2019.

      99.     This judicial forfeiture seeks to forfeit the remainder of the drug money

seized from Jefferson, as he expressly and/or implicitly agreed        to in his   Plea

Agreement.

       100.   Jefferson plead guilty to these charges on February 22,2019.

       101.   Jefferson was sentenced on June 24, 2019 to one hundred twenty (120)

months in federal prison, followed by three (3) years of supervised release.

       102. During his sentencing hearing, Jefferson admitted he got into drug
dealing as a vocation. "I got into drug dealing, you know, with my family in mind, to

support them and try to better our lives, albeit that it was, you know, misguided."

       103. During his sentencing hearing,      Jefferson admitted he used tools of the

drug dealing trade, saying "I had weapons to protect myself for my newfound wealth

from drug dealing."

       I04. The Defendant currency was part of this wealth.
       105.   Jefferson's ability to accumulate large amounts of cash in a short period

of time by drug dealing concerned the sentencing court, and was a factor at
sentencing.




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       106. The seized$3,769.00 was discussed at the sentencing hearing by the

Court as part ofthè̀seizure of his original drug operation."

       107.    In 2018‑ 2019, 」efferson's net worth was self― reported to the U.S.

Probation Office as negative $44,327.92, with his only asset being a 201l Buick

automobile. He did not clailn the Defendant property belonged to hiIIl.

                        Vo COUNT ONE― DEFENDANT$3。 769。 00
                         (FoRFEITURE UNDER 21 UoS.C.§ 881(a)(6))

       108.   PlaintiiFrepeats and realleges each and every allegation set forth above.

       109. A preponderance of the evidence proves that the Defendant property

constitutes lnoneys or other things of value furnished or intended to be furnished in

exchange for a controlled substance,proceeds traceable to such an exchange, and

money used or intended to be used to facilitate one or lnore violations of 21 U.S.C.

§841 and§ 846 et seq.

       110。   As a result of the foregoing, the Defendant property is liable to

condemnation and to forfeiture to the Ullllted States for its use,in accordance with 21

UoS.C.§ 881(a)(6)。

                                    VI. CLAIM FOR RELIEF

      WIIEREFORE, the United States prays that the Defendant property be

fOrfeited to the United States and that it be awarded its costs and disbursements in

this action and for such other and further relief as the Court deems prOper and just.




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                                     Respectfully submitted,

                                     Marc Krickbaum



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                                     VERIFICAT10N
       I,John J.Scarlett,hereby verJシ        ancl declare under penalty ofpeltiury that I

aln an Ottcer with the Des MOines Police]Departlllent,and that l have read the

forego■ llg 17erified Con■lDlaint    and knOw the contents tl■ ereof and tl■e lllatters

col■ tained   in the Ve■li■ed Complaint tte t■ tue to my own k1lowledge,except for tl10se

matters not witl■ in lny o"n peFSOnal knowledge and as to those lnatters,I believe

them to be true.          .

       The sol】 ceS Of n■ y
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enforcement officers,as weu as nly investigation ofthis case,together with others,as

an Ottcer with Des Moines Police I)epaFtment.

       Dated:」 uly二 2020,




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